Case 2:OO-mc-00028-.]PI\/|-tmp Document 159 Filed 07/07/05 Page 1 of 2 Page|D 133

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IN TI'IE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE _ _-
WESTERN DIVIS:QN 05 JUL 1 PH 33 llg

 

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GRAND om<s, J:Nc., wm(}¥l§~éi¢i}d?|'$$

Plaintiff,
v.

Misc. Nb. OO-MC-OZB

ARTHUR W. A.NDERSON, SR., and
JERRY L.. HOLLINGSWORTI'I,

vu`fvv`ivv~v

Defendants.

 

ORDER OF REFERENCE

 

Before the Court are Defendant Arthur W. Anderson, Sr.'s
motions requesting a hearing pursuant to Federal Rule of Civil
Procedure 60(b), filed March 17, 2005, and May 23, 2005. This
matter is hereby referred to the United States Magistrate Judge
for report and recommendation. Any exceptions to the magistrate
judge’s report shall be made within ten (10) days of the
magistrate judge's report, setting forth particularly those
portions of the order excepted to and the reasons for the

exceptions.

So ORDERED this 17 day of July, 2005.

Qm\(w£

JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

Th!e document entered on the docket sheet |n ccc_)mpliance _
with Hu|e 58 and/or?§(a) FHCP on 2 ’é 12 1 /

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 159 in
case 2:00-MC-00028 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

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Honorable Jon McCalla
US DISTRICT COURT

